MAR/Zl/ZOIQ/THU 02:03 FM` Ftrioms State Ban[< FAX No. 402 988 2265 P 901

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Ftlt tn this tntonnatton to identity tho nunez
u.._h¢q,.Namr-,' Rador Lodge, tnc.

Untteo Etotoo Etantcruptoy Court tar the: Dts'lrt.ct'. of Kansas

 
  
  

 

 

 

 

 

 

 

n Ctteck if this ts an
Ca.ss numvar. 19'1012,_5"1,__.___.1 amended filing
Offtoiat Forn_1 4256
Ntonthly Operating Roport_; for Small Busineso Under chapter 11 ram

 

nrlor\th‘. 34 §§ " zf\¢£" 3 Y Dota report titod'. W/q
one or munson 5 vw"»_r§` Nnrso code

tn accordance with t'rtto 28, section 1746, of the United Btatoo Goda. l declare under penatty of perjury
watt novo exomtnud the fottowing arnott hustnoos monthty operatlng moon and the accompanying
attachments and, to the host or my nnowtodgo. those documents are truo, oorroor. and comptote.

Responstnto pony:
Ortgtnat otgnoturo ot responsibte party

 

Frtnled name or responsible party

comm

 

 

Answer ott questions on bohott' ot the debtor for the period oouereo by this report, unless otherwise tnotooted.

2
D

NtA
tr you answer No to any of the questions in ttnos 1-$, attach en explanation and label tt Exhr`htt A.

t. Drd the business operate during the enttro reporting r.t€tth?
Da you plan to continue to operate mo bualness next month?

91

3. Hauo you paid ott of your bttts on ttme?

4. Dtct you pay your employees on time'?

5. t-Iaue you deposited att the rooetptofor your business toto debtor tn possesston (DIF) accounte`?
6, Hove you ttmoty ftte_d yourt'ox returns and palo ott or your taxes?

1 Hsye you tlmoty fried ott other roqutred government ftttngo? _

o m you current on your quan-tony roe payments to the u.S. Trusteo or Bantcnrpti:y Adminis!rator'?
9.

QEUHEHWEW §
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ounoouuoo

Hayo you t:tmety paid att of your lnauranoo premiums?

 

tr you answer Yest:o any of the questions in t|nes 10-18, attend an oxE|onation and label tt Exhib!t B.
El

‘|0_ Do you have any bank amounts open other thin the DlP accounts? a n
11. Hmro you soto any assets other than lmreotory? t'.'l 3 Et
12. \-tovo you sold or transferred any assets or provided sorvtces to anyone rotated to the DtP in onywsy'? t:.\ 33 Cl
13. Dtd any insurance company cannot your poticy'r Cl `E U
14. Dtd you have any unusuot or olgntttoant unanuctpoted oxponses'? |;l d |:l
15. Have you harmed money from anyone or nos anyone mode any payments on your hohott? n 'E' m
tar Has anyone made on tnuestmenttn your buoinoss? C] n U
Ofnr,-.tat Forrn 4250 , _ wanting Oporottng Roportfor Srnott Buotneso Under choptor‘u page 1

Case 19-10.128 Doc# 58 Filed 03/25/19 Page 1 of 18

 

 

MAR -
/2t/2019/rtu 02.04 rt nunn stare taint tn rn 402 988 2255 p. 902
outer tramp Boder Lodge, tno. cumumba,. 19-10128-11
t?.' Heue you pate eny bills you owed before you filed bonhrupl.r:y'i‘ n E- L_.l
18. Have you allowed any checks to oleartho bank that\uero issued before you tllod bankrupth g 0

 

 

 

-§ Summary of trash Aotluity for All Aocounte

re. Torel opentrtg balance or att accounts L/g' 40
iii

Thts amount must equal what you reported ne the cash on hand el the end of the month |rt the preyloue
month. lt this le your tiret report report the total cash on hand eo of the date ortho tlllng of thle oase.

20. Totel earth receipts
At.taoh o lleting of ell cash renewed for the month and tebot lt Exht'bft C, lnolude all
cash resolved oven tr you have not deposited itet the bentr, collections on
receivabtes, oradtt card depostte, open reoetued from other pardee, er loane. gttte, or

payments made by other parties on your behetr. tito not attach bank statements tn ja 555/z §` 671
lieu o=t Exhibtt G. _ r'
Repctrt the total horn Er<hitrr't C here. ‘ - 1

21. Total cash dlsbursemonls

Attal:t’t a ljs-ting ofalt payments you made tuttle month and label it Elrhlbtt D. Lls`t the
date oeid. poyee, purpose end amount lnotude ell CeE-\'l earm€“ts. debt cord
rreneor:ttonsl oheotrrr issued even lf they have not cleared the bentr, outstandlng
cheoke tseued before the bankruptcy was Eled that were allowed to clear this month.
and payments mode by other perltee on your be

helf. Do not attach book statements
tn neu or Exnrbrr D. ‘ _ $ §§ §/§,?_ '7.5/

Report the total fml'l't E.\thlbit D \'l€IE.

22. norman now + s g L}r€,€@. //

Subtmct line 21 from line 20 end report the result here
this amount may be different from what you moy have calculated as netproftt‘.

23. Coeh on hand at the end of the month
odd line 22 + line 19. P.eport the result here. 5’"(7/¢/? @,).
,_. ' l
Reoort th|e ngure as the crash orr hand ortho beginning of the month on your next operottng report "' $""L“'_

Thle amount may not match your bank account balenoe because you may have outstandan checks that
have not cleared the berth or deposits in henolt.

-j. unpaid ours _

Attooh a riot of att debts tinoludtng west whtoh you have inourred einoe the date you filed bankruptcy but
have not pald, t.ebel lt Exhthr‘t E. lnotudo the date the debt woo tnourned. who ts owed the money. the
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purpose ortho debt and when the debt is due. Repor't the total from Exhtbtt‘ E hore.

24. Total paynbles [))l/t ]'

(Exhr'bt'r E)

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Otltotat Fornt 425C thonthty Oporeting t'tr.»port tor Smatt Buetnws Under Crtapter 1'l page 2

Case 19-10128 Doc# 58 Filed 03/25/19 Page 2 of 18

MAR/21/2010/THU 02:04 Plil lidams Stal'.e Banlr FAX No. 402 908 2265

o¢br¢rnamr_~ Rader Lodgel ino.

-4. Money Owed to You

P. 003

cure number 19-10123-'|1

 

 

Atlooh o list of ali amounts owed to you by your customers forworlr you have done or merchandise you
have sold. include amounts owed to you both before end alter you ti|od bentm.iptoy. l.obei tt Exhlblr F.
identle who owes you money, how much to owed, and when payment is due. Report the total from

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

E)thibil' F hero.
25. root receivables o 0
(Exhr'bli F)
-:i'Employeo-s
26. Whatwas the number ot employees when me casewao tlted? _!_»-_
27. tNhnt is the number of employees eo of the dale of this monthly reporl’l _.--'__
-oi.Frofes-.rrouut Feos
28. How much have you paid this month in professionai fees related to this bankruptcy oooe? $
29. How muoh have you paid in professional fees related to this bankruptcy ease since the nose was nled'l ‘t`=,_,__-_-
30. tlow much have you paid this month inother professional fees'l 3 w
31. l-low much have you paid in total other professional fees since filing the ooso? s
Fojmlo ne
compare your actual cash receipts end disbursements to what you protected in the previous month.
Projeotod liguroo in the hrot month should match those provided at the initial debtor'intorview, deny.
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thepmvl o monlh‘s this repot‘l. item Goll.imn A.
1~ report ;
oo. cash receipts _ ` $_..._-- " 5 _.,.._.-- 5
alg- ca$h di$b'll\‘$amel'i*$ __ '- _-$ _:-_'__"T'_ __ = _§:_'_r»-_--»--:_"' l
34. Netcashhntu \$ :'_` $,,,_,__._. l l$___,______.. §
_ /,{-',’} d>C-$é)
35, Totol projected cash receipts for the next month: $ ¢
BE. Total projerded cash disbursements forthe next month: - $ 553 r OUO .
'.i'r'. 'l'otol protected net crash how lor the nord month: = $- 590
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Ottlolel Form 425£; monthly unprotan Raport l‘or Small Euoinoso tinder Choptor 11 pr:rgz 3

Case 19-10128 .Doc# 58 Filed 03/25/19 Page 3 of 18

MAR/?l/ZUIS/THU 02:[]4 PM Adams State Bank FAK No‘. 402 988 2265 P 004

 

Dg'q\o¢ Ngrpe R£der LDng, \[\C. Daw number 19*'10123*'\ 1

 

 

 

B. Additiona| \nformation

 

lf availab!a. check the box to me lerl and attach copies ofthe fotinw|ng douumerds.

ma 1334 digns of account numbera).

§ 38. Bank statements for each open account (¢adact all but

9 39_ sank reconcu'ratlnn reports!nreacn ammunL

723 40. Finanda\ reports such ne an income atatamen\{pmht & Iosa) and!orbo\am:e sheer
p- 41. Bndgat, projedion. or fomcas\ reports.

g 42. Projec\. job costing. orwork-'lr»progress repons.

Omc§aj Fo¥m 425€ Mnnmty Qperal.\ng Repori far$ma\l Eus'mpss under chapter 11 page 4

Case 19- 1
10128 Doc# 58 Filed 03/25/19 Page 4 of 18

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Case 19-10128 Doc# 58 Filed 03/25/19 Page 6 of 18

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Case 19-10128 Doc# 58 Filed 03/25/19 Page 7 of 18

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1 RADER moss lch
CIO WASH|NGTON CDUNTY TAX & ACCOUNTING
201 c sTR\=.E'r
WASH|NGTON KS 66968

`suni|_tulli\uli\\]nlutlbl

*** CHECKING `*** BUSINESS E-CHEC|(ING "

Account Number: _5053
January 01, 2019

Tuta| Deposifs and Cred|ts: 22
Tota| Check$ and Dab|l$: 120

Ending balance on January 31, 2019
Numbar of`days in this statement pariad: 30

o ACH L ATM or Miscel!angous Transactinns

Date Description

01/02 AC-GEIEU
01/02 POS DEBIT

01/00 DEFGSIT

Dehirs
01/02 WTHDRL DDA 8126 01/02 12:11 202.50
513 BK RACE TRAC NAPLES FL
-PREM CDLL 358.11
12/31 101.00
wAL‘HART #5391 NAPLES FL
01/02 CKCD DEB§T 01/01 PRICELINE* 269.52
EXTENDED ST 000-774-2354 CT
01/04 AE~HEADWAYCAPITAL Z-HEADHAY
01/04 AC~RADER LODGE INC -TRANSFERRA 125.00
DER LDDGE/CGMHERCE BANI< .
01/04 AE-CAFITAL DNE -GNLINE PMT 450.00
01/04 ACH URIGINATIUN FEE '-5053 10.00
TU EL¢XXXKKXXXXXKKODDD
01/07 AC»PRUG DIRECT lNS 'INS PREM 100.67
01/07 AC~TJK Rewards MC -TJX EPAY 150.00
01!07 AC-RAV 8 APPLE MKT ~PURCHASE 164.65
CIT¥-BELU ST'KS CK-000003511
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01/07 AC-CAPITAL UNE 'HUBILE PMT 200.00
01/07 AC-EAFITAL DNE ~ONLINE PHT 350.00
01/00 AC-Square lnc ~190100P2
01/08 DVERDRAFT FEES 25.00
01/00 AC-Sa}stdca 41.35
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01/00 AC»CAPlTAL ONE ~MUBILE PMT 150.00
01/08 AC-FPL DIRECT DEBIT-ELEC PYMT 263.57
01/00 AC-CAPITAL DNE ~OHLINE PMT 350.00
01209 RETURNED CHECK # 00003512
01/09 AE-BARCLAYCAHD US -CREDITCARD 500.00
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Case 19-
GLDE.~EL-EO

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785-738'3501
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Statamenr. Date: 01-31-19

Paga #:1 of 9
Enclosures 51
$ 6,727,55
50,689.73
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o A H ATM or Misc l|aneous Transactin's

Date Description
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01/14 AC-SqUaFE lnc ~190114P2

01/14 AC»CUMEAST 5535100 -410953942
01/14 AC~GAPITAL DNE -ONLINE PMT
01/14 AE-DIRECTV -Paymant
01/14 AC-DISBUVER -E~PAYMENT
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STATE GULF ASS 013*632-3742 FL
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01/14 CKCD DEBIT 01/11 FLDRIDA
STATE GULF ABS 013~532'3742 FL
01/14 CKCD DEBIT 01/11
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VALLEY09097174 GLEN ELDER KS
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BPLAINS 612»?162050 MN
01/17 AC-WAL-MART STURES -PURCHASE
CIT¥-CONC ST-KS 0K'000003614
NUMBER 0000003614
01/17 AC-BELOIT COUNTRY C-DUES
01/17 AE-Synchrony Bank -CC FYMT
01/17 AC~CAFITAL ONE -0NLINE FHT
01/10 AC-DISCOVER -E~PAYMENT
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Page #:2 of 9

Cradibs

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RADERLDUGE|NC

E!O WASH|NGTON COUNTY TAX 3» ABCOUNT|NG

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c ACH [ ATM or Miscgllanenus Transaction§

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01/22 AC‘CUNNINGHAMTELCO ~EILLPAY
01/22 AC‘Synchrony Bank -CC PVHT
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01/23 DEPOSIT
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01/29 AE-EAPITAL ONE 'UNLINE PMT
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755-738-3501
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Accnunt Number: u§n§g

February 01, 2019 $ 3,659.43
Tn'cal Dapnsl|s and Cred|L\‘,; 32 + 25,‘392.27.
Tor.al checks and Debus; 94 ' - 24,207.75
Ending balance on February 28, 2019 $ 5,443.90

Number uf days in thls statement perlocl: 27

c ACH l BIM or Miscellaneous Transactirms
Date Descr\ption h Debi|'s Erediw
02/01 AC~Synchrony Bank -CC PYMT EDU.OO
02/04 PUS REFUND 02/04 100.00
GLF*GC Am Tour 313-2532571 FL
02/04 DEPOSIT BUU.OU
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5015t1ce§lEFF RADER
02!04 AC-RADER LODGE INC ~TRANSFERRA 125.00
DER LOUGE/BUMHERCE BANK
02/04 AC-CAPITAL ONE -MOEILE PHT ZUU.UU
02/04 AC-EARCLAYCARU US -CREDITCARD 350.00
02/04 POS DEBIT 02{03 ED.UU
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OE/Ud-POS DEBIT 02/03 PUBLIX 53.26
SUPER MAR 13550 INAPLES FL
02/04 PUS DEBIT UEHOB 72.72
MARSHALLS #0176 NAPLES FL
02/04 POS DEBIT UZfUB SYB DICKS 195.77
SPORTING 57156NAPLES FL
02/04 CMCD DEBIT 02/02 430.73
3PLA§NS 512-?162060 MN
02/05 HOEILE DEPDSIT 560.00
02/65 MOBILE DEPOSIT 700.00
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02/06 AC-Square Inc '190206P2 659.55
02/06 AC-BAPITAL UNE 'MDBILE PMT 150.00
02/05 AC-HARLAND CLARKE -CHK ORDER 175,24
02/06 AC»FPL DIREET UEBIT-ELEG PYMT 262.90
02/05 AC-BARCLAYCARD US -CREDITEARD 300.00

Case 19-10128 DOC# 58 Filed 03/25/19 Page 15 of 18
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02/07 AC-Square Inc ~190207P2

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DE/UB AC-BARELAYEARD US -CREDITCARD 250.00

02!11 HDBILE DEFUSIT
02/11 MDBILE DEPOSIT

02/11 AB'Square lnc -190211P2

02/11 HTHDRL UDA 3492 02/09 09:46 2U2.50
5/3 EK RAEE TRAE NAPLES FL

02/11 AG-GEICO -GEICO PYMT 123.55

02/11 PDS DEBIT DZ/UB wAL 43,77
wa]-Mart Super UEZEENAPLES FL

02/11 CKCD DEBIT 02/08` vALENCIA 10.00
GULF ANU CUUNTRNAPLES FL

02/11 CKCD DEBIT 02/09 RACETRAC 17.21
2439 00024398 NAPLES FL

02/11 CKCD DEBIT 02/09 SXM*SIRlUS 69.11
RM.CGH/ACCT 883-635-5144 NV

02/11 CKCD DEBIT DE/OB ALICD FNWI BS.OO
LY GOLF CENTERFORT MYERS FL

_ 02/12 AC-CDMCABT 8535100 -410953942 100.32
02/12 AC~DISCOVER ~E-PAYMENT 150.00
02/12 AC-THE GERBER GROUP~PURCHASE BUU.GU

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02/12 CKCD DEBIT 02/11 DUNOUANS 55.74
IRISH FUB LAKE CITV FL

02/13 AC'CASEYS EEN STDRE~EIBBEBEIUU 45,27

CK-DUUD3616

02/13 AC-CAPITAL ONE -ONLINE PHT EEU.DO

02/13 AC-BARCLAYCARD US -EREDITCARD BSU.DO

02/13 CKCD DEBIT UE/lE PRAIRIE 1¢077.95
LAND ELECTRIC 155-377'3323 KS

02/14 AC'DIRECTV ‘PByment 288.74

02/14 CKCD UEBIT 02/12 PALENCIA 12.54
GOLF CLUB ST AUGUSTINE FL

02/14 CKCD DEBIT 02/12 PALENCIA 1 EB.EE
GOLF CLUB ST AUGUSTINE FL

'02/14 CKCD DEBIT 02/12 AHERICAN 227.00

AIR001720525475FDRT wGRTH TX
02/15 POS REFUND 02/15
GLF*GC Am Tour 813-2632571 FL

02/15 AC-CASEYS`GEN STORE-5159656100 41.72
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RADER LODGE INC Page #:3 of 5
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02/15 AC'CAPITAL ONE -ONLINE PHT 250.00
02/15 AC-CAPITAL DNE -UNLINE PMT BUD.DO
02/19 MDEILE DEPUSIT 1,200.00
02/19 AC~Square Inc -190215P2 309.22
02/19 AC-Square InC -190215P2 516.44
02/19 MTHDRL DDA 7656 02/16 13:49 202.95

PUBLIX SUPER MAR NAPLES FL
02/19 AC-EASE¥S EEH 3TORE-5159556100 50.00

CK-DOOU§EZl

02/19 AC’CUNNINEHAHTELCG 'BILLPAY lUE.dD
02/19 AC-Synchrony Bank ~EC PYMT 200.00
02/19 AC-ACHHA VISB 'EILL PYMNT 250.00
02/19 AB-BARCLAYCARD US -CREDITCARD 350.00
02/19 CKCD DEBIT 02/15 AMERICAN 361.00

AIRDOl?EQBABAAlFDRT WORTH TX
02/20 AC'BELDIT COUNTRY C~DUES 113.07
02/21 MDBILE DEPOSIT 1.000.09
02/22 WTHDRL UDA 6529 02/22 03:07 103.95

LovEs TS #603 An4 #»1 HEPHER \<5
02/22 AC-lE72 Extra SpaCE-PAYMENT 119.28
02/22 AC-CAPITAL DNE -DNLINE PHT 250.00
02/22 AC-BARCLAYCARD US -CREDITCARD BOD.OD
02f25 MOBILE DEPDSIT 1.000.00
02/25 AC-NCKCN - 44.00

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02/25 AC»DUNSTAN WASTE 50~ 53.00

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02/25 AC-NCKEN ~ 139.00

PAYHENTNEKCN
02/25 AC-Synchrony Bank 'CC PYMT 150.00
02/25 AC-ACHHA VISB -BJLL PYMNT 176.60
02/25 AC-NCKEN - 219.DU

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02/25 AC-Square Inc '190225P2 1.031‘25
02/25 MUBILE DEPGSIT BDO.UU
02/26 MOBILE DEPOSIT 500.00
02/26 MGBILE DEPDSIT 500.00
02/25 MUBILE DEPUS]T 500.00
02/25 HUBILE DEFGSIT 500.00
02/25 MDBlLE UEPDSIT 500.00
02/25 MDBILE DEPUSIT 500.00
OE/EE HOBILE DEPGSIT BUO.DU
02/25 DVERDRAFT FEES BO.UU
02/26 AC-EEICD . -GEICO PYMT 93.99
02/26 AC»CAPITAL GNE -UNLINE PHT EDU.UU

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RADER LODGE |NC Page #:4 of B
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Date Descrlption Debits Credits
02/25 Ac\eARcLAYc/ARD us -annITcARD 300.00
02/27 Ac-Squara Inc: -190227P2 412.35
02/27 L‘Kco uEBIT 02/26 PAYPAL BB.B5
*INTERNATLGN 402-935-7733 nn
02/25 nolast uEPosxT 100.00
112/25 MOBILE m~:POSIT 300.00
02/25 MUBILE nEPDSIT 300.00
02/25 MoB:Lr-: DEPUSIT ‘ 300.00
02/23 news m-:POSIT 375.00
02/25 MoelLE DEPGSIT ' snn.on
02/28 nuBILr-: uEPuSIT 1.500.00
02/23 HoaILE DEPGSIT - 1.500.00
ozrzs Ac-NFH -PAYMENT 219.93
02/25 DUPLICATE sn~n FEE .5063 5.00

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11-11 02/13 955.25 1111 02/19 ` 250.00
2507* 02/27 200.00 2972* 02/20 210.00
3167* 112/11 100.00 315!:1 02/21 75.00
3159 02/27 75.00 33531' 02/25 500.00
3409* 02/0? 200 . 00 3532* 02/20 1. 250 .00
3541* 02.'20 205.00 3550* 02/07 210.00
3617* 02/15 300.31 3610 02/12 200.00
3622* 02/20 200.00 3623 02/27 200.00
3652* 02/04 1.500.00 3653 02/04 1,350.00
¢ Balance 51 Date
Date Balam:e Date BaIanr.e Date Bnlam:e Date Ba!anc:e
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02/12 6.374~31 02/13 3.692,33 02/14 3,105.97 02/15 1,650.16
02/19 2,016.47 02/20 \ 30.4{) 02/'21 953.40 02/22 190.17
02/25 1.122,50- OEKEE 1,945.113 02/27 793.83 02/23 5.443.90

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